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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                                                                    Electronically Filed
    THE HONORABLE ORDER OF KENTUCKY           )
    COLONELS, INC.                            )
                                              )
          PLAINTIFF                           )
    v.                                        ) CIVIL ACTION NO. 3:20-CV-132-RGJ
                                              )
    KENTUCKY COLONELS INTERNATIONAL,          )
    et al.                                    )
                                              )
          DEFENDANTS                          )


    PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S MOTION TO STRIKE & OBJECTION
        RESPONSE TO PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT JUDGMENT

         Plaintiff, The Honorable Order of Kentucky Colonels (“HOKC”), hereby moves the

Court to strike Defendant’s “Motion to Strike & Objection Response to Plaintiff’s Motion for

Entry of Default Judgment” (hereinafter “Wright’s Motion”) [DE 140]. 1, 2

         As grounds for this Motion, HOKC states that Wright’s Motion is not properly before

this Court. HOKC’s Motion for Default Judgment seeks entry of default judgment against

Defendants Ecology Crossroads Cooperative Foundation, Inc. and Globcal International

(hereinafter the “Corporate Defendants”) [DE 139]. HOKC’s Motion for Default Judgment



1HOKC is not responding to the substance of Wright’s Motion at this time and reserves the
right to respond substantively should the instant Motion to Strike be denied.

2  Even though Defendant David J. Wright (“Wright”) and counsel for HOKC have
corresponded by email since February 2020, and despite being advised by both this Court
and the Sixth Circuit Court of Appeals of the need to provide counsel for HOKC with a copy
of every document he sends to the Clerk for filing as well as an email from counsel for HOKC
to Wright on November 9, 2023 requesting Wright comply with the requirements for service,
Wright failed to serve counsel for HOKC with a copy of Wright’s Motion. HOKC respectfully
requests this Court again admonish Wright to serve a copy of any future filings on opposing
counsel at the time of filing.
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was not directed at Wright. Nevertheless, Wright, individually and pro se, responded to

HOKC’s Motion for Default Judgment regarding the legal defense of the Corporate

Defendants. As the Court has repeatedly indicated, Wright may not appear on behalf of the

Corporate Defendants because he is not licensed to practice law. Therefore, Wright’s Motion,

which is nothing more than an attempt to circumvent the fact that he is not an attorney and

the Corporate Defendants remain unrepresented, is not properly before this Court.

       For the foregoing reasons, HOKC respectfully requests that Wright’s “Motion to Strike

& Objection Response to Plaintiff’s Motion for Entry of Default Judgment” [DE 140] be

stricken from the record.



                                          Respectfully submitted,

                                          /s/ Julie Laemmle Watts
                                          Cornelius E. Coryell II
                                          Julie Laemmle Watts
                                          WYATT, TARRANT & COMBS, LLP
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                                          Counsel for Plaintiff, the Honorable Order of
                                          Kentucky Colonels, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 7, 2023, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system. I further certify that a true and correct copy
of the foregoing has been served upon the following, via U.S. Mail and/or electronic mail, on
the 7th day of December, 2023:

 Globcal International                   Ecology Crossroads Cooperative Foundation, Inc.
 c/o Maya-Lis A. Wright                  c/o Maya-Lis A. Wright
 302 General Smith Drive                 302 General Smith Drive
 Richmond, KY 40475                      Richmond, KY 40475

 David J. Wright
 302 General Smith Drive
 Richmond, KY 40475
 David.wright@globcal.net

                                            /s/ Julie Laemmle Watts
                                            Counsel for Plaintiff, the Honorable Order of
                                            Kentucky Colonels, Inc.

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